        Case 1:18-md-02865-LAK         Document 46       Filed 12/06/18      Page 1 of 3




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION
OF THE KINGDOM OF DENMARK (SKAT)                               MASTER DOCKET
TAX REFUND SCHEME LITIGATION
                                                                18-md-2865 (LAK)
This document relates to:     18-cv-10100


                      DECLARATION OF JOHN C. BLESSINGTON

        I, JOHN C. BLESSINGTON, declare as follows:

        1.     I am a partner of the firm K&L Gates LLP and am counsel for Defendants

Newsong Fellowship Church 401(k) Plan and Alexander Jamie Mitchell III in the above-

captioned action (18-md-2865) and the related civil action (18-cv-10100).

        2.     I have personal knowledge of the matters stated herein.

        3.     Attached hereto as Exhibit 1 is a true and correct copy of Plaintiff SKAT’s

complaint filed in the Eastern District of Pennsylvania against Defendants Newsong Fellowship

Church 401(k) Plan and Alexander Jamie Mitchell III.

        4.     Attached hereto as Exhibit 2 is a true and correct copy of tax refund claim forms

filed by Goal TaxBack Limited for Newsong Fellowship Church 401(k) Plan, ED&F Man

Capital Markets Ltd.’s Tax Voucher, and a certification of the U.S. Internal Revenue Service.

        5.     Attached hereto as Exhibit 3 is a true and correct copy of the letter by Newsong

Fellowship Church 401(k) Plan to the Skattenkestyrelsen (translated to English), dated

September 21, 2018, appealing SKAT’s decision to reclaim refunds, and Certificate of

Translation.

        6.     Attached hereto as Exhibit 4 is a true and correct copy of the letter by Alexander
       Case 1:18-md-02865-LAK             Document 46        Filed 12/06/18          Page 2 of 3




Jamie Mitchell III to the Skattenkestyrelsen (translated to English), dated September 28, 2018,

appealing SKAT’s decision to reclaim refunds, and Certificate of Translation.

       7.      Attached hereto as Exhibit 5 is a true and correct copy of Danish Capital Gains

Tax Act, section 23.1 (c), a certified translation thereof, and Certificate of Translation.

       8.      Attached hereto as Exhibit 6 is a true and correct copy of The Legal Guide,

section C.B. 2.1.6.1, which is a guidance published by SKAT, a certified translation thereof, and

Certificate of Translation.

       9.      Attached hereto as Exhibit 7 is a true and correct copy of Chapter 7 of the Report

on the Danish Customs and Tax Administration’s Partnership with the Police and the

Prosecution Service, that addresses exchange of information with the prosecution, a certified

translation thereof, and Certificate of Translation.

       10.     Attached hereto as Exhibit 8 is a true and correct copy of Danish Corporation Tax

Act, section 2.1 (c), a certified translation thereof, and Certificate of Translation.

       11.     Attached hereto as Exhibit 9 is a true and correct copy of Danish Corporation Tax

Act, section 2.3, a certified translation thereof, and Certificate of Translation.

       12.     Attached hereto as Exhibit 10 is a true and correct copy of Danish Tax

Assessment Act, section 16A.1, a certified translation thereof, and Certificate of Translation.

       13.     Attached hereto as Exhibit 11 is a true and correct copy of Danish Income Tax

Act, section 65.1, a certified translation thereof; and Certificate of Translation.

       14.     Attached hereto as Exhibit 12 is a true and correct copy of Danish Income Tax

Act, section 69B.1 (c), a certified translation thereof, and Certificate of Translation.
       Case 1:18-md-02865-LAK        Document 46      Filed 12/06/18       Page 3 of 3




        I, JOHN C. BLESSINGTON, hereby declare under penalty of perjury that the foregoing

is true and correct.


Dated: December 6, 2018


                                                 /s/ John C. Blessington
                                                John C. Blessington
